     Case: 1:23-cv-14016 Document #: 55 Filed: 12/20/23 Page 1 of 1 PageID #:764

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Shenzhen Jisu Technology Co., LTD
                                                   Plaintiff,
v.                                                              Case No.: 1:23−cv−14016
                                                                Honorable Lindsay C.
                                                                Jenkins
The Entities and Individuals Identified in Annex
A, et al.
                                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 20, 2023:


        MINUTE entry before the Honorable Lindsay C. Jenkins: Defendant
jiayishangmaogongsi's unopposed motion for extension of time [54] is granted. Defendant
jiayishangmaogongsi's responsive pleading is due by January 9, 2023. Mailed notice. (jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
